Case 2:24-cv-05582-JLS-KS Document 1 Filed 07/01/24 Page 1 of 12 Page ID #:1


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11 The Kroger Co.
12
                       UNITED STATES DISTRICT COURT
13
14                     CENTRAL DISTRICT OF CALIFORNIA
15                                WESTERN DIVISION
16
17 PEOPLE OF THE STATE OF                   Case No. 2:24-cv-5582
18 CALIFORNIA,
                                            DEFENDANT THE KROGER CO.’S
19                       Plaintiff,         NOTICE OF REMOVAL
20
          vs.                               [From the Superior Court of California,
21
                                            County of Santa Barbara, No.
22 THE KROGER CO., and DOES 1-50,           24CV03007]
23
                         Defendants.        Compl. Filed:   May 29, 2024
24                                          Action Removed: July 1, 2024
25
26
27
28

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 1 TO THE CLERK AND TO PLAINTIFF AND PLAINTIFF’S ATTORNEYS:
 2         PLEASE TAKE NOTICE that defendant The Kroger Co. (Kroger) hereby
 3 removes this action from the Superior Court of the State of California for the
 4 County of Santa Barbara to the United States District Court for the Central District
 5 of California. Kroger is entitled to remove this action to federal district court
 6 pursuant to 28 U.S.C. §§ 1332(a), 1332(d), 1441, and 1446 based on the following:
 7                                   State Court Action
 8         1.    On May 29, 2024, plaintiff, the People of the State of California
 9 (Plaintiff), commenced this action in the Superior Court of the State of California in
10 and for the County of Santa Barbara, captioned People of the State of California v.
11 The Kroger Co. et al., Case No. 24CV03007 (the State Court Action). A true and
12 correct copy of the complaint in the State Court Action is attached hereto as
13 Exhibit 1 (the Complaint). Plaintiff served the Complaint on Kroger on May 31,
14 2024.
15         2.    Plaintiff’s Complaint alleges Kroger misrepresented the caloric content
16 of “multiple bread products advertised under the KROGER CARBMASTER
17 name,” including “CARBMASTER Wheat Bread,” “CARBMASTER White
18 Bread,” “CARBMASTER Multi-seed Bread,” “CARBMASTER Hamburger Buns,”
19 and “CARBMASTER Hotdog Buns” (together, the Carbmaster Bread). (Compl.
20 ¶ 15.) Plaintiff alleges Kroger sold Carbmaster Bread in retail locations owned by
21 its subsidiary companies (i.e., Ralphs Grocery Company (Ralphs), Foods Co., and
22 Food 4 Less) in Santa Barbara County and Ventura County. (Id. ¶ 9.) Plaintiff
23 alleges Kroger misrepresented the Carbmaster Bread’s caloric content on “the
24 consumer-facing portions of the packaging and on the FDA Nutrition Facts panel on
25 the back of the packaging,” from November 1, 2018, until a date uncertain, when
26 Kroger “corrected the caloric information on the FDA Nutrition Facts panel” (FDA
27 Panel) of the Carbmaster Bread products. (Id. ¶¶ 17–18.) Plaintiff alleges Kroger
28 “continued to falsely advertise the caloric content of its CARBMASTER breads on
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 1 the front and sides of the packaging in California until at least 2022.” (Id. ¶ 24.)
 2 On June 28, 2022, Plaintiff alleges its investigator visited a Ralphs store in Santa
 3 Barbara, and “discovered CARBMASTER White Bread” with a FDA Panel
 4 accurately listing its caloric content, which was misrepresented on its front label.
 5 (Id. ¶ 25.)
 6         3.    From this, Plaintiff brings claims for violations of California’s False
 7 Advertising Law (FAL), Cal. Bus. & Prof. Code §§ 17500 et seq., based on caloric
 8 content (1) outside of the FDA Panel and (2) within the FDA Panel; Cal. Bus. &
 9 Prof. Code § 12024.6, based on caloric content (3) outside of the FDA Panel and (4)
10 within the FDA Panel; and Unfair Competition Law (UCL), Cal. Bus. & Prof. Code
11 §§ 17200 et seq., based on violations of the FAL (5) outside the FDA Panel, and (6)
12 within the FDA Panel; violations of Cal. Bus. & Prof. Code § 12024.6 (7) outside
13 the FDA Panel, and (8) within the FDA Panel; violations of Cal. Health & Saf.
14 Code § 110660 (9) outside the FDA Panel, and (10) within the FDA Panel; and
15 advertising (11) outside the FDA Panel, and (12) within the FDA Panel. (Compl. ¶¶
16 29–102.)
17         4.    Plaintiff seeks, inter alia, injunctive relief, “a civil penalty of $2,500
18 for each violation of the [UCL],” “a civil penalty of $2,500 for each violation of the
19 [FAL],” “[r]estitution of all monies wrongfully obtained from California
20 customers,” “reasonable costs incurred in investigating this action,” “[c]osts of
21 suit,” and “[s]uch other and further relief as the Court deems appropriate.” (Compl.
22 19–20.) Kroger believes Plaintiff’s claims are meritless.
23         5.    In addition to the pleadings and filings mentioned above, all other
24 pleadings, processes, and orders served upon or received by Kroger in the State
25 Court Action or found on the docket in that action are attached hereto.
26               a.     The Complaint is attached hereto as Exhibit 1;
27               b.     The Civil Case Cover Sheet is attached hereto as Exhibit 2;
28
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 1                c.    The Civil Case Cover Sheet Addendum (Local Form) is attached
 2                      hereto as Exhibit 3;
 3                d.    The Summons is attached hereto as Exhibit 4;
 4                e.    The Notice of Case Assignment/Case Management Conference
 5                      is attached hereto as Exhibit 5;
 6                f.    The Proof of Service by Mail is attached hereto as Exhibit 6;
 7                      and
 8                g.    The Proof of Service of Summons & Complaint is attached
 9                      hereto as Exhibit 7.
10         6.     The State Court Action is removable to this Court because the Court
11 has original jurisdiction under 28 U.S.C. §§ 1332(a) and 1332(d), and the Central
12 District of California encompasses the location in which the State Court Action is
13 currently pending (i.e., Santa Barbara, California). See 28 U.S.C. § 1332(a)(1)
14 (“The district courts shall have original jurisdiction of all civil actions where the
15 matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
16 costs, and is between … citizens of different States”); id. § 1332(d)(2)(A) (“The
17 district courts shall have original jurisdiction of any civil action in which the matter
18 in controversy exceeds the sum or value of $5,000,000, exclusive of interest and
19 costs, and is a class action in which … any member of a class of plaintiffs is a
20 citizen of a State different from any defendant[.]”); id. § 1441(a) (“[A]ny civil
21 action brought in a State court of which the district courts of the United States have
22 original jurisdiction, may be removed by the defendant … to the district court of the
23 United States for the district and division embracing the place where such action is
24 pending.”); id. § 84(c)(2) (setting Santa Barbara County in the Central District).
25               The Action Is Removable Based on Diversity Jurisdiction
26         7.     A civil action is removable based on diversity jurisdiction “where the
27 matter in controversy exceeds the sum or value of $75,000, exclusive of interests
28 and costs, and is between … citizens of different States.” 28 U.S.C. § 1332(a)(1).
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 1         8.     Plaintiff purports to bring this action on behalf of the “People of the
 2 State of California” and “California consumers.” (Compl. ¶¶ 1, 2.) Thus, Plaintiff
 3 is a citizen of California for purposes of determining diversity.
 4         9.     Kroger is a corporation incorporated in Ohio and has its principal place
 5 of business in Cincinnati, Ohio. (Compl. ¶ 7.) A corporation is a citizen of every
 6 state in which it is incorporated and of the state it has its principal place of business.
 7 See 28 U.S.C. § 1332(c)(1). Thus, Kroger is a citizen of Ohio for purposes of
 8 determining diversity.
 9         10.    Therefore, sufficient diversity of citizenship exists between the
10 relevant parties in this case.
11                      The Amount in Controversy Exceeds $75,000
12         11.    Plaintiff’s individual claims also exceed $75,000, exclusive of interest
13 and costs, based on Plaintiff’s individual requests for injunctive relief, civil
14 penalties, and pre-litigation settlement offer.
15         12.    “Where,” as here, “it is unclear ‘from the face of the complaint
16 whether the amount in controversy exceeds $75,000, the removing defendant bears
17 the burden of establishing, by a preponderance of the evidence, that the amount in
18 controversy exceeds the jurisdictional threshold.’” Amavizca v. Nissan N. Am., Inc.,
19 2023 WL 3020489, at *2 (C.D. Cal. Apr. 19, 2023) (citing Chavez v. JPMorgan
20 Chase & Co., 888 F.3d 413, 416 (9th Cir. 2018)).
21         13.    For purposes of removal only, and without conceding that Plaintiff is
22 entitled to any damages, remedies, or penalties whatsoever, Plaintiff’s individual
23 claims, as pleaded in the Complaint, exceed the jurisdictional amount of $75,000,
24 exclusive of interest and costs. See 28 U.S.C. § 1332(a)(1); see also Amavizca,
25 2023 WL 3020489, at *3 (“‘The ultimate inquiry is what amount is put “in
26 controversy” by the plaintiff’s complaint, not what a defendant will actually owe.’”)
27 (emphasis in original).
28
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 1          14.   The Complaint seeks “[r]estitution of all monies” Kroger “obtained
 2 from California customers” based on the conduct alleged in the Complaint, which
 3 includes sales of Carbmaster Bread products from “on or about November 1, 2018,”
 4 “until at least 2022.” (Compl. 16; see also id. ¶¶ 17, 24.) Specifically, Plaintiff
 5 alleges its investigator discovered Carbmaster White Bread with corrected caloric
 6 content in its FDA Panel, but incorrect caloric content on consumer-facing portions
 7 of its packaging, on June 28, 2022. (Id. ¶¶ 17, 25.) From November 1, 2018,
 8 through June 28, 2022, Kroger’s total sales of Carbmaster White Bread products in
 9 Santa Barbara County and Ventura County exceeded $75,000. Thus, without
10 conceding that Plaintiff’s alleged measure of damages would be the proper measure
11 of relief for any of Plaintiff’s claims, or that Plaintiff is entitled to any relief, based
12 on Kroger’s sales of Carbmaster White Bread in Santa Barbara County and Ventura
13 County from November 1, 2018, through June 28, 2022, it is reasonably possible
14 that disgorgement would exceed $75,000 alone.
15          15.   The Complaint seeks “a civil penalty of $2,500 for each violation of
16 the [UCL],” and “a civil penalty of $2,500 for each violation of the [FAL].”
17 (Compl. 19.) This Court has consistently included maximum civil penalties
18 available as part of the amount in controversy when a plaintiff requests those
19 penalties in the complaint. See, e.g., Carillo v. FCA USA, LLC, 546 F. Supp. 3d
20 995, 1004 (C.D. Cal. 2021) (“[T]he amount in controversy estimate may include a
21 two-times civil penalty” because the amount is requested in the complaint); Bugiel
22 v. Ford Motor Co., 2022 WL 17486358, at *3 (C.D. Cal. Dec. 6, 2022) (holding “a
23 two-times civil penalty [was] in controversy” because the complaint sought that
24 relief); De Vidal v. Ford Motor Co., 2022 WL 17093070, at *3 (C.D. Cal. Nov. 21,
25 2022) (“[T]he maximum recoverable civil penalty should be considered for
26 purposes of determining the amount in controversy”); Ghebrendrias v. FCA US
27 LLC, 2021 WL 5003352, at *2 (C.D. Cal. Oct. 28, 2021) (including maximum
28 available civil penalty sought in complaint); Treuhaft v. Mercedes-Benz USA, LLC,
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 1 2021 WL 2864877, at *2 (C.D. Cal. July 6, 2021) (including maximum recoverable
 2 civil penalty because it could reasonably be recovered).
 3         16.    As explained above, Plaintiff alleges Kroger misrepresented the
 4 Carbmaster Bread’s caloric content on or around November 1, 2018, and that its
 5 investigator discovered Carbmaster White Bread with corrected caloric content in
 6 its FDA Panel, but incorrect caloric content on consumer-facing portions of its
 7 packaging, on June 28, 2022. (Compl. ¶¶ 17, 22, 25.) From November 1, 2018,
 8 through June 28, 2022, Kroger sold over 15 units of Carbmaster White Bread
 9 products with the labels pictured in the Complaint in Santa Barbara County and
10 Ventura County. (Id.) From November 1, 2018, through May 29, 2024, Kroger
11 also sold more than 15 units of the Carbmaster Wheat Bread with the labels pictured
12 in the Complaint in Santa Barbara County and Ventura County. (Id. ¶¶ 17, 22, 28.)
13 From November 1, 2018, through May 29, 2024, Kroger also sold more than 15
14 units of the Carbmaster Hamburger Buns with the labels pictured in the Complaint
15 in Santa Barbara County and Ventura County. (Id. ¶ 23.) Thus, without conceding
16 that Plaintiff’s alleged measure of penalties would be the proper measure of relief
17 for any of Plaintiff’s claims, or that Plaintiff is entitled to any relief, based on
18 Kroger’s sales of Carbmaster Bread in Santa Barbara County and Ventura County
19 from November 1, 2018, through June 28, 2022, the maximum civil penalties would
20 exceed $75,000.
21         17.    In sum, based on Plaintiff’s pleaded assertions and theories of
22 recovery, the amount in controversy exceeds $75,000
23            This Action Is Removable Under the Class Action Fairness Act
24         18.    This Court also has original jurisdiction pursuant to the Class Action
25 Fairness Act of 2005 (CAFA). CAFA was enacted based on Congress’s concern
26 that “cases involving large sums of money, citizens of many different States, and
27 issues of national concern, have been restricted to State courts even though they
28 have national consequences.” 151 Cong. Rec. S1086-01, S1103 (Feb. 8, 2005).
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 1 CAFA’s purpose is to allow “[f]ederal court consideration of interstate cases of
 2 national importance.” 28 U.S.C. § 1711, stat. note, subd. (b)(2).
 3         19.   “[N]o antiremoval presumption attends cases invoking CAFA, which
 4 Congress enacted to facilitate adjudication of certain class actions in federal court.”
 5 Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014).
 6         20.   CAFA extends federal jurisdiction over class actions where: (1) any
 7 member of the proposed class is a citizen of a state different from any defendant
 8 (i.e., minimal diversity exists); (2) there are at least 100 members in all proposed
 9 plaintiff classes combined; (3) the amount in controversy exceeds $5 million; and
10 (4) no exception to jurisdiction applies. See 28 U.S.C. § 1332(d). As explained
11 below, each of these requirements is satisfied in this case.
12               The Minimal Diversity Requirement is Satisfied
13         21.   A putative class action is removable based on diversity jurisdiction if
14 “any member of a class of plaintiffs is a citizen of a State different from any
15 defendant.” 28 U.S.C. § 1332(d)(2)(A).
16         22.   As previously discussed, (see supra ¶¶ 11-15), sufficient diversity of
17 citizenship exists between the relevant parties in this case.
18               Plaintiff’s Proposed Class Exceeds 100 Members
19         23.   Plaintiff’s lawsuit is a representative action, such that it fits within the
20 definition “class action” under 28 U.S.C. § 1332(d)(1)(B), which is defined as “any
21 civil action filed under rule 23 of the Federal Rules of Civil Procedure or similar
22 State statute or rule of judicial procedure authorizing an action to be brought by 1 or
23 more representative persons as a class action[.]”
24         24.   To remove a class action under CAFA, “the number of members of all
25 proposed plaintiff classes in the aggregate” must be at least 100. 28 U.S.C.
26 § 1332(d)(5)(B).
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 1         25.   Plaintiff seeks to represent a class defined as “California consumers.”
 2 (Compl. ¶ 1.) Over 1,000 individuals have purchased the Carbmaster Bread
 3 Products in California during the relevant period.
 4         26.   Accordingly, the members of Plaintiff’s proposed class exceed 100.
 5               The Amount in Controversy Exceeds $5 Million
 6         27.   Where, as here, “the plaintiff’s complaint does not state the amount in
 7 controversy, the defendant’s notice of removal may do so.” Dart Cherokee, 574
 8 U.S. at 84. To establish the amount in controversy, a notice of removal “need not
 9 contain evidentiary submissions.” Id. Rather, “a defendant’s notice of removal
10 need include only a plausible allegation that the amount in controversy exceeds the
11 jurisdictional threshold.” Id. at 89.
12         28.   The aggregated claims of Plaintiff’s putative class, as pleaded in the
13 Complaint, exceed the jurisdictional amount of $5,000,000 exclusive of interest and
14 costs. See 28 U.S.C. § 1332(d)(2); see also Amavizca, 2023 WL 3020489, at *3
15 (“‘The ultimate inquiry is what amount is put “in controversy” by the plaintiff’s
16 complaint, not what a defendant will actually owe.’”) (emphasis in original). Civil
17 penalties alone would exceed $5,000,000 because more than 1,000 California
18 consumers purchased Carbmaster products with the labels pictured in the Complaint
19 during the relevant period. (Compl. ¶¶ 17, 22, 23, 28.)
20               Exceptions to Jurisdiction Do Not Apply
21         29.   The complete diversity between Plaintiff’s putative class of California
22 citizens and Kroger not only satisfies the minimal diversity requirements under
23 CAFA, but also precludes the “local controversy” and “home state” exceptions in
24 28 U.S.C. ¶ 1332(d)(3) & (d)(4), exemptions for which the Plaintiff would bear the
25 burden of proof in any event.
26                Kroger Satisfies the Requirements of 28 U.S.C. § 1446
27         30.   This Notice of Removal is signed pursuant to Rule 11 of the Federal
28 Rules of Civil Procedure. See 28 U.S.C. § 1446(a).
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 1         31.    This Notice of Removal has been filed within 30 days of May 29,
 2 2024, the date Plaintiff served the Complaint on Kroger, and from which it was first
 3 ascertainable this case was removable. See 28 U.S.C. § 1446(b)(2)(B).
 4         32.    Concurrently with the filing of this Notice, Kroger is giving written
 5 notice to all adverse parties and is filing a copy of this Notice with the clerk of the
 6 Superior Court of the State of California in and for the County of Santa Barbara.
 7 See 28 U.S.C. § 1446(d).
 8         33.    Kroger does not waive and expressly preserves all objections, defenses,
 9 and exceptions authorized by law, including but not limited to those pursuant to
10 Rule 12 of the Federal Rules of Civil Procedure.
11         WHEREFORE, Kroger removes the State Court Action to this Court.
12
13 DATED: July 1, 2024                        DAVIS WRIGHT TREMAINE LLP
14                                            By: /s/ Jacob M. Harper
15                                              Jacob M. Harper
16                                            Attorneys for Defendant
                                              The Kroger Co.
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 1                        PROOF OF SERVICE BY U.S. MAIL
 2         I am employed in the County of Los Angeles, State of California. I am over
 3 the age of 18 and not a party to the within action. My business address is Davis
 4 Wright Tremaine LLP, Suite 2400, 865 South Figueroa Street, Los Angeles,
 5 California 90017-2566.
 6         On July 1, 2024, I served the foregoing documents as follows:
 7          DEFENDANT THE KROGER CO.’S NOTICE OF REMOVAL
 8 by placing a true copy of said document(s) enclosed in a sealed envelope(s) for
 9 each addressee named below, with the name and address of the person served
10 shown on the envelope as follows:
11   John T. Savrnoch                          Erik Nasarenko
     District Attorney of Santa Barbara        District Attorney of Ventura County
12   County                                    Andrew J. Reid, SBN: 268351
     Morgan S. Lucas, SBN: 288401              Senior Deputy District Attorney
13   Christopher B. Dalbey, SBN: 285562        5720 Ralston Street
     Senior Deputy District Attorneys          Ventura, CA 93003
14   1112 Santa Barbara Street                 Tel.: (805) 662-1705
     Santa Barbara, CA 93101                   Email: andrew.reid@ventura.org
15   Tel.: (805) 568-2300
     Email: mlucas@countyofsb.org
16
17 COUNSEL FOR PLAINTIFF
18     I placed such envelope(s) with postage thereon fully prepaid for deposit in the
19 United States Mail in accordance with the office practice of Davis Wright Tremaine
20 LLP, for collecting and processing correspondence for mailing with the United
21 States Postal Service. I am familiar with the office practice of Davis Wright
22 Tremaine LLP, for collecting and processing correspondence for mailing with the
23 United States Postal Service, which practice is that when correspondence is
24 deposited with the Davis Wright Tremaine LLP, personnel responsible for
25 delivering correspondence to the United States Postal Service, such correspondence
26 is delivered to the United States Postal Service that same day in the ordinary course
27 of business.
28
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 1        I declare under penalty of perjury under the laws of the United States of
 2 America that the foregoing is true and correct and that I am employed in the office
 3 of a member of the bar of this Court at whose direction the service was made.
 4        Executed on July 1, 2024, at Los Angeles, California.
 5
 6                   Shari Sanders
                      Print Name                                  Signature
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